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                                  1                                    UNITED STATES DISTRICT COURT

                                  2                                   NORTHERN DISTRICT OF CALIFORNIA

                                  3
                                  4      MARY SMITH, et al.                           ,       Case No. 5:23-cv-03527-PCP
                                                         Plaintiff,
                                  5
                                                                                              MOTION TO SUBSTITUTE
                                  6               v.                                          LAW FIRM; PROPOSED ORDER

                                  7      GOOGLE LLC                                   ,

                                  8                      Defendant.

                                  9

                                  10   On behalf of (party name) GOOGLE LLC                                  , the following attorney(s)

                                  11           (1) move(s) to substitute as counsel of record,

                                  12           (2) certify they are members in good standing of this Court’s bar,
Northern District of California
 United States District Court




                                  13           (3) attest to the consent of current counsel to be withdrawn, and

                                  14           (4) attest to the consent of the party represented.

                                  15   Name(s) of new counsel seeking to appear and firm name:
                                       Cooley LLP - Benedict Hur, Simona Agnolucci, Eduardo Santacana, Joshua D. Anderson, Yuhan
                                  16   Alice Chi, Anika Holland
                                  17   Name(s) of counsel withdrawing from representation and firm name:
                                       Wilkie Farr & Gallagher LLP - Naiara Toker and Alexis Dorner. Additionally, the counsel listed
                                  18   above are no longer associated with Willkie Farr & Gallagher LLP..
                                  19
                                       Date: June 18, 2025
                                  20
                                  21
                                  22                                         [PROPOSED] ORDER
                                  23           The substitution of attorney(s) and firm is hereby approved and so ORDERED.
                                  24
                                  25   Date:
                                                                                      UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  26
                                  27
                                  28
